8/7/2019                                  Apply for a U.S.
                      Case 1:19-cv-00733-MV-GBW            Visa | Appointment
                                                        Document          1-2WaitFiled
                                                                                 Times - Jordan (English) Page 1 of 3
                                                                                         08/12/19
  ‫ﺗﻐﯾﯾر اﻟﻠﻐﺔ‬: Change to Arabic (/jo_ar/jo-niv-waittimeinfo.asp)


  Apply for a U.S. Visa
  in Jordan

           Home (index.html?ﬁrstTime=No)
           Login (https://cgifederal.secure.force.com/?language=English&country=Jordan)
           Contact Us (jo-main-contactus.asp)
           FAQ (jo-gen-faq.asp)

           Nonimmigrant Visa Information (#)
                 Visa Types (jo-niv-visatypeinfo.asp)
                 Visa Fees (jo-niv-visafeeinfo.asp)
                 Payment Options (jo-niv-paymentinfo.asp)
                 DS-160 Information (jo-niv-ds160info.asp)
                 Appointment Wait Times (jo-niv-waittimeinfo.asp)
                 Photos and Fingerprints (jo-niv-photoinfo.asp)
                 Visa Waiver Program (jo-niv-visawaiverinfo.asp)
                 Security Regulations (jo-niv-securityinfo.asp)
           Nonimmigrant Visa Application (#)
           Immigrant Visas (#)
           Local Visa Programs (#)
           Locations (#)
           General Information (#)
            (#)

  You are here: Home (index.html) / Appointment Wait Times


  Appointment Wait Times
  On this page:

           Overview (#Overview)
           Visa Processing Time (#VisaProcessingTime)
           Current Wait Time and Availability (#CurrentWaitTimeandAvailability)




  Overview

  All applicants are processed as eﬃciently as possible and the U.S. Embassy strives to keep the wait time for
  appointments as short as possible. That said, the earlier you book your appointment, the more likely you are to be able to
  get the interview date and time you want.

  Visa Processing Time

  Although visa processing time is typically three working days, processing time for speciﬁc cases may vary due to
  individual circumstances and other special requirements.
                                                                                                                        1
https://www.ustraveldocs.com/jo/jo-niv-waittimeinfo.asp#VisaProcessingTime                                                  1/3
8/7/2019                                  Apply for a U.S.
                      Case 1:19-cv-00733-MV-GBW            Visa | Appointment
                                                        Document          1-2WaitFiled
                                                                                 Times - Jordan (English) Page 2 of 3
                                                                                         08/12/19
  Current Wait Time and Availability

  Current Appointment Wait Time in Amman (https://travel.state.gov/content/visas/en/general/wait-times.html/)

  Current Appointment Availability (https://cgifederal.secure.force.com/?language=English&country=Jordan)

  Schedule an Appointment (https://cgifederal.secure.force.com/?language=English&country=Jordan)

           Home (index.html?ﬁrstTime=No)




  © CGI Federal Inc. (jo-main-contactus.asp)

           NIV Information
           Visa Types (jo-niv-visatypeinfo.asp)
           Visa Fees (jo-niv-visafeeinfo.asp)
           Payment Options (jo-niv-paymentinfo.asp)
           DS-160 Information (jo-niv-ds160info.asp)
           Appointment Wait Times (jo-niv-waittimeinfo.asp)
           Photos and Fingerprints (jo-niv-photoinfo.asp)
           Visa Waiver Program (jo-niv-visawaiverinfo.asp)
           Security Regulations (jo-niv-securityinfo.asp)

           NIV Application
           Apply for a Visa (jo-niv-visaapply.asp)
           Pay My Visa Fee (jo-niv-paymentinfo.asp)
           Complete My DS-160 (jo-niv-ds160complete.asp)
           Schedule My Appointment (jo-niv-appointmentschedule.asp)
           Change Document Delivery Address (jo-niv-deliveryaddressmodify.asp)
           Track My Passport/Visa (jo-niv-passporttrack.asp)
           Apply for Expedited Visa Processing (jo-niv-expeditedappointment.asp)
           Applying for a Visa without an Interview (jo-niv-visarenew.asp)
           Application Pending Further Action (jo-niv-221ginfo.asp)

           Immigrant Visas
           Visa Information (jo-iv-visaapplyinfo.asp)
           Check My Immigrant Visa Petition Status (jo-iv-visastatusinfo.asp)
           Immigrant Visa Wait Times (jo-iv-waittimeinfo.asp)
           Track My Passport/Visa (jo-niv-passporttrack.asp)
           Select Document Delivery Address (jo-iv-documentdelivery.asp)
           Application Pending Further Action (jo-iv-221ginfo.asp)

           Local Visa Programs
           Travel Coordinator (jo-svc-travelcoordinator.asp)
           Group Appointments (jo-svc-groupappointment.asp)
           Corporate Visa Program (jo-svc-corporatevisaprogram.asp)
           Diplomatic and Government Oﬃcials (jo-svc-aandginfo.asp)
           Visas for Children (jo-svc-visachild.asp)
           Syrian Applicants (jo-svc-syrianapplicants.asp)

           Locations
           U.S. Embassy (jo-loc-post.asp)
           Passport/Visa Collection Locations (jo-niv-passporttrack.asp)
https://www.ustraveldocs.com/jo/jo-niv-waittimeinfo.asp#VisaProcessingTime                                              2/3
8/7/2019                                  Apply for a U.S.
                      Case 1:19-cv-00733-MV-GBW            Visa | Appointment
                                                        Document          1-2WaitFiled
                                                                                 Times - Jordan (English) Page 3 of 3
                                                                                         08/12/19
           Document Drop-Oﬀ Locations (jo-loc-documentdropoﬀ.asp)
           Bank Locations (jo-loc-bank.asp)

           General
           Information
           Frequently
           Asked
           Questions
           (jo-gen-
           faq.asp)
           Holidays
           and
           Closures
           (jo-gen-
           holidays.asp)
           Rights and
           Protections
           (jo-gen-
           rightsandprotection.asp)
           Helpful
           Links (jo-
           gen-
           helpfullinks.asp)

  The U.S. Department of State's Bureau of Consular Aﬀairs website (http://travel.state.gov) and Consular Post websites
  are the deﬁnitive sources of visa information. Should there be discrepancies in content, the Consular Aﬀairs website and
  Consular Post websites take precedence.
  Privacy Policy (jo-ftr-privacy.asp)




https://www.ustraveldocs.com/jo/jo-niv-waittimeinfo.asp#VisaProcessingTime                                                   3/3
